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 8                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 9                                           AT TACOMA

10    UNITED STATES OF AMERICA,
11                    Plaintiff,
                                                                    Case No. CR05-5828FDB
12            v.
                                                                    ORDER DENYING UNITED
13    KEVIN TUBBS, JOSEPH DIBEE,                                    STATES’ MOTION FOR
      JOSEPHINE S. OVERAKER, JUSTIN                                 DISCLOSURE OF PRESENTENCE
14    SOLONDZ, and BRIANA WATERS,                                   REPORTS AS PREMATURE
15                    Defendants.
16
             The Government, concluding pursuant to Ninth Circuit authority, that a defendant is entitled
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     to material in a probation file that bears on the credibility of a significant witness in a case – subject
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     to a protective order – moves for disclosure of presentence reports of six of Waters’ co-conspirators
19
     who have pleaded guilty to charges in the District of Oregon: Nathan Bloch, Chelsea Gerlach, Daniel
20
     McGowan, Stanislaw Meyerhoff, Suzanne Savoie, and Joyanna Zacher. The United States Two of
21
     these co-conspirators have responded: Chelsea Gerlach and Daniel McGowan.
22
             Chelsea Gerlach objects to disclosure of certain paragraphs of the presentence report, to
23
     disclosure of her date of birth and social security number, and to the psychological evaluation
24
     attached to the presentence report, arguing that this information contains personal and private
25

26   ORDER - 1
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 1   information and does not constitute Brady material, and should not, therefore, be disclosed.

 2          Daniel McGowan responds that he has not been formally listed as a witness, that he has not

 3   been served with a subpoena, nor has his counsel been advised that he will be subpoenaed to testify.

 4   Moreover, McGowan indicates that in exchange for his plea of guilty, he would describe his own

 5   conduct, but would not identify any other person or persons involved in any criminal conduct in

 6   which he engaged. Furthermore, McGowan indicates that he would not willingly appear and testify

 7   and that he would risk a contempt citation instead. Thus, McGowan argues that the motion is

 8   premature, and release of any part of his presentence report would be an unnecessary and

 9   unwarranted violation of his privacy.

10          Counsel for Defendant Waters has filed a response to Gerlach’s objections. Defendant

11   Waters notes that it is not clear that the Government is going to call Chelsea Gerlach as a witness.

12   Waters states that she has no interest at this time in examining material to which Gerlach objects, but

13   asks that the Court release that material to which she has no objection.

14          The Court concludes that the Government’s motion is premature and will deny it at this time

15   subject to renewal.

16          NOW, THEREFORE, IT IS ORDERED: The United States’ Motion for Disclosure of

17   Presentence Reports [Dkt. # 206] is DENIED as premature.

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19          DATED this 24th day of October, 2007.

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                                             A
                                             FRANKLIN D. BURGESS
                                             UNITED STATES DISTRICT JUDGE
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26   ORDER - 2
